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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


   UNITED STATES OF AMERICA

         v.                                       CASE NO. 8:20-mj-1518-T-60AEP

   MUHAMMED MOMTAZ AL-AZHARI


    GOVERNMENT’S RESPONSE TO MOTION TO REVOKE DETENTION
       ORDER AND RELEASE THE DEFENDANT FROM CUSTODY

         The United States of America files this response in opposition to the

   motion of the Defendant, Muhammed Momtaz Al-Azhari, to revoke the Court’s

   detention order (Doc. 27). The United States opposes the Defendant’s release

   pursuant to 18 U.S.C. §§ 3142(e)(1), 3142(e)(3)(C), 3142(f)(1)(A), 3142(f)(2), and

   3145(b).

                             MEMORANDUM OF LAW

         As discussed below, the magistrate judge properly detained the Defendant

   because he is a serious risk of flight and a danger to the community. 18 U.S.C. §

   3142(e)(1).

         At its heart, the current motion is primarily a backdoor attempt to revisit

   the Court’s probable cause determination and release the Defendant not based on

   his risk of flight or dangerousness, but because defense counsel believes that his

   legal argument regarding the charged offense will prevail at trial. See Doc. 27 at

   1-22. In fact, only three-and-a-half pages of the Defendant’s 27-page motion
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   even attempt to address the factors to be considered under 18 U.S.C. § 3142(g)

   and the Defendant’s personal circumstances; much of the rest of the motion uses

   the applicable presumption of detention to try to shoehorn an argument about

   probable cause being insufficient. See id.

         Soon after filing the instant motion, the Defendant also filed an objection

   to the magistrate judge’s probable cause determination and moved to dismiss the

   criminal complaint (Doc. 29). The United States will file a separate response to

   that motion in which it will more thoroughly address the sufficiency of the

   probable cause in this case.

                                  I.   “I am ISIS, okay?”

         By his own admission, the Defendant is a member of ISIS and a fervent

   supporter of that designated foreign terrorist organization. As the complaint

   details, the Defendant is a United States citizen who was returned to this country

   from Saudi Arabia in December 2018 after he was convicted of terrorism-related

   charges abroad. Within months of returning to the United States, the Defendant

   began consuming ISIS propaganda. Doc. 5 at 28. Regardless of what

   organization he may have supported in the Syrian civil war—which gave rise to

   his first terrorism charges—the Defendant revealed his affinity for ISIS not long

   after he came back to this country.

         The Defendant was found to be consuming ISIS propaganda beginning in

   May 2019. Doc. 5 at 30. By September 2019, the Defendant was actively

   researching how to make improvised explosives devices and poisons, including a

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   resource called “Mujahid guide in forensic research and 4 easy ways to make a suicide

   belt.” Id. at 32-33. In around February and March 2020, he began looking into

   acquiring guns. Id. at 33-35. The Defendant’s interest in finding guns only

   intensified over the next two months, and he turned to the streets to obtain an Uzi

   submachinegun. Id. at 36-43. The Uzi was in addition to another handgun that

   the Defendant “literally got [] off the streets.” Id. at 18. Spent shell casings

   found in the Defendant’s car show that he fired the Uzi. Id. at 46. Around the

   same time, the Defendant engaged an undercover FBI agent to try to get a fully

   automatic AK-47 rifle, a Glock pistol, a silencer, a threaded barrel, and extended

   magazines. Id. at 9-23. Those plans were only thwarted when the Defendant

   was arrested on state charges for unlicensed carrying of a concealed firearm—a

   third gun that he had somehow acquired. Id. at 22.

          But even the Defendant’s state arrest did not deter him from his plans to

   obtain firearms and provide material support to ISIS. In late May 2020, the

   Defendant began interacting with a confidential human source (“CHS-1”). Id. at

   53-62. Over a period of days, he converted CHS-1 to Islam and asked for his

   help in carrying out attacks and robberies, to include killing police officers and

   members of the military. Id. The Defendant also asked CHS-1 to help him

   obtain a Glock pistol, an AK-47 rifle, and silencer, just as he had asked the

   undercover agent to do. Id. FBI agents arrested the Defendant when he took

   possession of the Glock pistol, a silencer, and an extended magazine. Id. at 62.




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             During these busy months, the Defendant prepared himself for a deadly

   attack in support of ISIS. He ordered gear for an attack, such as a tactical vest, a

   skull facemask, a backpack USB interface, a drone, and a long, hooded winter

   coat. Id. at 25. He also surveilled targets, to include Honeymoon Island State

   Park and other “busy” area beaches. Id. at 49, 51-53. Contemporaneously, the

   Defendant pledged allegiance to ISIS and rehearsed portions of his attack. Id. at

   44-45, 49. In relevant part, he boasted:

              “Know America. Today is your emergency. Today we kill from you
               guys like you killed from us. I pledge allegiance to Sheik Abu Ibrahim
               al-Hashimi 1 when you consider what I’m about to do.” Id. at 49.

              “Hey you, get on the floor. Get on the floor now. Don’t you move,
               don’t you move, I’m telling you, I will kill you. Get on the floor, God
               willing, the exalted.” Id. at 44.

              “God willing, the exalted. This is revenge for my brothers Al
               Muwahideen [the monotheists] in Guantanamo in general, and for my
               brother [redacted] in particular. God willing, he may be praised and
               exalted. God willing, this is a revenge for all my Muslim brothers in
               Iraq and al-Sham [Syria] 2 and everywhere.” Id. at 44-45.

              “In the name of God, Allah Akbar [God is great]…God willing, the
               exalted, the Islamic State is lasting.” Id. at 45.

             If there was any doubt that the Defendant identified as a member of ISIS

   and endeavored to work under its direction or control, his interactions with CHS-

   1 erased that doubt. The Defendant bluntly told CHS-1, “I am ISIS, okay?” Id.

   at 57. He further said that he wanted to go live with the “good brothers” in Syria



   1
       Al-Hashimi is the second and current “Caliph” of ISIS and is considered its leader.
   2
       ISIS is an acronym for the “Islamic State of Iraq and al-Sham.” Doc. 5 at 2, 4.


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   and Iraq and explained, “I want to join ISIS. They are the real followers. I’ve

   lived there before. I enjoyed that life.” Id. The Defendant added, “We either

   go over there, to Syria and Iraq and live between Muslims, and fight with them

   against the Syrian Army and then the Iraqi army, or we stay here in America and

   we keep, we keep making their lives hell until Allah accepts us as martyrs.” Id.

   He went on to explain the difference between al-Qaeda and ISIS, remarking that

   ISIS consists of all jihad groups together, and said, “We don’t care about the

   name. We care about the purpose. America is afraid because we are united.”

   Id. at 58. The Defendant repeatedly referred to ISIS by the collective words

   “we” or “our,” including by saying that “our target” is to establish an Islamic

   state of Islam, and he claimed that he had been trying to do so for more than six

   years (which encompasses his time in Saudi Arabia). Id.

         The Defendant also continually expressed his admiration for Pulse

   nightclub shooter, and fellow ISIS “soldier” (Id. at 36), Omar Mateen. He

   searched for Mateen’s grave in South Florida and visited the Pulse nightclub

   memorial on at least two occasions—including one time, ominously, in the dead

   of night and around the same time that Mateen’s attack had occurred. Id. at 35-

   37, 51-52. As discussed below, the Defendant spoke glowingly about how

   Mateen had killed 49 people and injured 53 “in the gay club.” Id. at 60. Even

   the weapons that the Defendant tried to acquire—the Glock pistol, in particular—




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   were a dark homage to Mateen. 3 In the Defendant’s own words:

          “Me, I eventually, that’s how I want to die, to be honest. I want to die,
          you know, in a shootout with the kuffar [disbelievers/non-Muslims]…You
          know like, brother Omar Mateen in Orlando did. He took 49 with him…
          He went in with his AR-15 and his 9mm, pow pow pow, and won’t stop,
          just pulled the trigger – every kaffir [infidel] he sees in front of him. That’s
          what I want to do. Inshallah [God willing]…[E]ver since that happened,
          they shut, they shut it down. So, mashallah [God has willed it], look what
          he did, he caused, he made a difference.”

   Id. at 60.

          Despite the facts set out above and in the complaint, the Defendant alleges

   that the government “presented no evidence in any form that [he] attempted to

   work under the direction or control of ISIS.” Doc. 27 at 9. He then uses that

   assertion to undermine the statutory presumption of detention and the other

   § 3142(g) factors that warrant detention. However, the facts are clear that the

   Defendant attempted to violate 18 U.S.C. § 2339B, and certainly under a

   probable cause standard.

          Probable cause is defined as “facts and circumstances sufficient to warrant

   a prudent man in believing that the suspect had committed or was committing an

   offense.” Grider v. City of Auburn, 618 F.3d 1240, 1257 (11th Cir. 2010) (citing

   Gerstein v. Pugh, 420 U.S. 103, 111 (1975)). The Defendant claims that, contrary

   to the findings of two magistrate judges, this low bar has not been met because he



   3
    See Bart Jansen, “Weapons gunman used in Orlando shooting are high-capacity, common,”
   USA TODAY, June 14, 2016, available at
   https://www.usatoday.com/story/news/2016/06/14/guns-used-kill-49-orlando-high-capacity-
   common-weapons/85887260/.


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   did not in some way endeavor to place himself or someone else under ISIS’s

   direction and control. Doc. 27 at 16. However, that argument overlooks the

   Defendant’s own words and actions, as well as the reality of ISIS’s modus

   operandi.

         ISIS has called for its supporters to carry out the type of attack that the

   Defendant attempted to conduct here. As laid out in the complaint, ISIS has

   encouraged its followers who are unable to travel to the Middle East to commit

   jihad by fighting (also known as making “hijrah”) to instead conduct attacks in

   their home countries. Doc. 5 at 5-7. The very title of one such exhortation was

   “Lone Wolfs Rise Up.” Id. at 7. By optimizing the types of social media and

   internet platforms that the Defendant himself consumed and used, ISIS spreads

   that message inciting violence across the globe. Id. While ISIS may maintain a

   formal, centralized structure in parts of the Middle East, it allows any like-minded

   follower to join its cause by committing acts of violence in support of an Islamic

   state. As far back as September 21, 2014, now-deceased ISIS spokesperson Abu

   Muhammad al-Adnani called for followers to take action and show their support

   for ISIS through acts of violence in their homelands. Id. at 6; Samantha

   Arrington Sliney, Right to Act: United States Legal Basis Under the Law of Armed

   Conflict to Pursue the Islamic State in Syria, 6 U. Miami Nat'l Sec. & Armed Conflict

   L. Rev. 1, 2 (2016). Al-Adnani reiterated that called in May 2017, stating, “If

   the tyrants have closed in your faces the door of hijrah, then open in their face the

   door of jihad and make their act a source of pain for them…The smallest action

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   you do in the heart of their land is dearer to us than the largest action by us, and

   more effective and more damaging to them.” 4 What’s more, common sense and

   our experience tell us that this is how ISIS now carries out its mission to attack

   the United States and other Western countries. Over the past several years, there

   have been numerous publicized “lone wolf”-type terrorist attacks carried out in

   Florida, California, Texas, New York, the United Kingdom, France, Belgium,

   Spain, Australia, and elsewhere, in which the attackers have claimed to support

   ISIS or for which ISIS has claimed responsibility. 5 To ignore those attacks and

   ISIS’s role in facilitating and benefiting from them is to close one’s eyes to reality.

          Nor does the available case law support the Defendant’s argument. The

   two Eleventh Circuit cases that are directly on point demonstrate as much. See

   United States v. Suarez, 893 F.3d 1330 (11th Cir. 2018), cert. denied, 139 S. Ct. 845

   (2019); United States v. Augustin, 661 F.3d 1105 (11th Cir. 2011). In Suarez, the

   defendant was convicted of violations of 18 U.S.C. §§ 2332a and 2339B after he

   plotted a bomb attack on a Key West beach in support of ISIS. 893 F.3d at 1333.


   4
     Griff Witte et al., “Flow of foreign fighters plummets as Islamic State loses its edge,”
   WASHINGTON POST, Sept. 9, 2016, available at
   https://www.washingtonpost.com/world/europe/flow-of-foreign-fighters-plummets-as-isis-
   loses-its-edge/2016/09/09/ed3e0dda-751b-11e6-9781-49e591781754_story.html
   5
     See “Global Terrorism Database,” NATIONAL CONSORTIUM FOR THE STUDY OF TERRORISM AND
   RESPONSES TO TERRORISM, accessed on June 17, 2020, available at
   https://www.start.umd.edu/gtd/; Tim Lister et al., “ISIS goes global: 143 attacks in 29
   countries have killed 2,043,” CNN, Feb. 12, 2018, available at
   https://www.cnn.com/2015/12/17/world/mapping-isis-attacks-around-the-world/index.html;
   Camila Domonoske et al., “Suspect In New York City Truck Attack Accused Of Terrorism In
   Federal Complaint,” NPR, Nov. 1, 2017, available at https://www.npr.org/sections/thetwo-
   way/2017/11/01/561304014/suspect-in-new-york-city-truck-attack-worked-as-commercial-
   truck-uber-driver.



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   The FBI learned of the defendant’s posting of ISIS propaganda and thereafter

   introduced a confidential source and an undercover agent to the defendant to

   disrupt the plot. Id. at 1332-1333. Challenging the sufficiency of the evidence

   on appeal, the defendant claimed that he did not provide material support or

   resources. Id. at 1334. The Eleventh Circuit disagreed, holding that the

   government had offered “substantial evidence” showing that Suarez knowingly

   provided material support to ISIS. Id. at 1335. The court noted the following:

         “Through his Facebook account, Suarez posted ISIS propaganda,
         requested help in building bombs, attempted to recruit others to join him in
         attacks, and filmed a recruitment video to this end…He coordinated
         directly with individuals whom he believed to be members of ISIS in order
         to acquire a bomb. He provided the money and materials for the bomb,
         and he accepted the bomb while reiterating his plan to detonate it on a
         crowded beach. On this basis, a reasonable jury could conclude that
         Suarez attempted to direct his services to the benefit of a foreign terrorist
         organization.”

   Id. It went on:
         “Suarez argues that there was no coordination or direct contact with an
         actual foreign terrorist organization because he had contact only with the
         government informant and undercovers. But it is irrelevant that he did
         not make contact with ISIS, because the law requires only that Suarez
         directed (or attempted to direct) his services to ISIS…Suarez had the
         requisite intent to coordinate with ISIS and direct his services to ISIS,
         and he took substantial steps to do so. Accordingly, there was sufficient
         evidence to convict Suarez for attempting to provide material support to a
         foreign terrorist organization….”

   Id. (emphasis added).

         Likewise, in this case, the Defendant had the intent to coordinate with

   ISIS, directed his services to that foreign terrorist organization, and took

   substantial steps to do so. The Defendant self-identified as an ISIS member,


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    pledged allegiance to ISIS, consumed ISIS propaganda, spoke about wanting to

    join ISIS fighters overseas, and said that his motive was to avenge offenses

    against Muslims and to help establish an Islamic state. He then acquired the

    items needed for an attack, including a handgun, silencer, and extended

    magazine. As a United States citizen living in this country after already having

    been imprisoned in, and removed from the, Middle East, the Defendant did

    everything that he conceivably could do to align himself ISIS. Furthermore, he

    claimed to CHS-1 that he had been trying to help establish an Islamic state for

    more than six years, which suggests that he was a member, or at least a supporter,

    of ISIS when he lived abroad in Saudi Arabia. He also referenced avenging a

    specific “brother” and member of the “muhawhideen” who had been imprisoned

    at Guantanamo Bay detention camp. Thus, it seems likely that the Defendant

    did have contact with ISIS members overseas.

          Augustin also shows that there is probable cause to support the § 2339B

    charge here. In Augustin, the defendants were charged with violating § 2339B

    and other crimes. 661 F.3d at 1115. In relevant part, the defendants had jointly

    taken an oath to support Al Qaeda, photographed and videotaped federal

    buildings, and discussed a plot to attack those buildings. Id. at 1111-1114, 1119.

    But there was no evidence that they had communicated or worked directly with

    any Al Qaeda members or operatives. See id. The Eleventh Circuit rejected the

    defendants’ claim that their conduct did not rise to the provision of personnel

    under § 2339B(h). See id. at 1119. It held that, under of the totality of the

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    circumstances, “the jury was free to conclude that [the defendants], though

    immediately under [one defendant’s] command, were ultimately volunteering

    themselves to serve under the direction and control of Al Qaeda.” Id. The jury

    could decide “from the entirety of the oath ceremony, including the revelation of

    the plan to blow up FBI offices across the country, and the [defendants’] later

    actions in taking photographs and video footage of the Miami federal buildings

    and presenting them to [Defendant] Assaad, that [Defendants] Augustin, Phanor,

    and Augustine had volunteered to work under Al Qaeda’s direction or control.”

    Id.; see also United States v. Elshinawy, No. CR ELH-16-0009, 2017 WL 876484, at

    *10 (D. Md. Mar. 6, 2017) (favorably citing Augustin).

           The evidence set forth in the complaint and adduced at the preliminary

    hearing establishes that the Defendant attempted to work under ISIS’s direction

    or control. 6 See 18 U.S.C. § 2339B(a)(1) and (h). The facts and circumstances

    are sufficient to warrant a prudent man in believing that the Defendant has

    committed a violation of § 2339B. Grider, 618 F.3d at 1257. 7




    6
      The evidence also shows that the Defendant attempted to recruit CHS-1 to work under ISIS’s
    direction or control.
    7
      The United States notes that nothing that the complaint affiant said at the preliminary hearing
    undermines this conclusion. Indeed, the Defendant’s own citation to the hearing transcript
    confirms as much. Doc 27. at 6-7. Special Agent Hazel testified, in relevant part:
    “Q.     And certainly you think he—he sympathized with ISIS, correct?
    A.      Yes.
    Q.      And you think he wanted to advance those goals, correct?
    A.      Yes. […]
    Q.      All right. And he was just seeking to achieve their—their goals on his own?
    A.      Yes.”
    Doc. 27 at 7.


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      II.      “I don’t want to take four or five, no. I want to take at least 50.”
                     “Of course, they’re going to issue a warrant”

            This Court should not release the Defendant from custody because he is a

    serious risk of flight and a danger to the community. 18 U.S.C. § 3142(e)(1).

    The United States persists in moving for his detention pursuant to 18 U.S.C. §

    3142(f)(1)(A) and (f)(2).

            The Defendant having been charged with a “federal crime of terrorism,”

    the law presumes that he should be detained. 18 U.S.C. § 3142(e)(3)(C). That

    presumption of detention is warranted because the Defendant attempted to

    provide material support or resources to ISIS by carrying out a mass shooting and

    conducting robberies. In the course of doing so, he pledged his allegiance to

    ISIS, rehearsed his attack, acquired at least four guns and ammunition, and

    scouted potential targets. Were it not for the intervention of law enforcement, it

    is likely that the Defendant would have killed or injured innocent people in his

    quest to support a foreign terrorist organization. As he told CHS-1, referencing

    the lives lost in the Pulse massacre, “I don’t want to take four or five, no. I want

    to take at least 50.” Doc. 5 at 60. And, although he had brief interactions with

    CHS-1 and the undercover agent, those violent plans originated squarely with the

    Defendant. The government agents did not coax the Defendant to plot acts of

    terror, but merely offered to help him acquire more weapons—after he had

    already obtained three guns, including an Uzi, on his own. The Defendant took

    himself down this path in at least May of last year, if not earlier. If he were to be



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    released, there is every reason to assume that the Defendant will find a way to

    resume his pursuit of jihad at all costs.

           The Court can assume as much because the Defendant’s arrest on state

    charges did nothing to deter him from his criminal aspirations. On May 1,

    2020—in the midst of the FBI investigation—the Tampa Police Department

    arrested the Defendant for unlicensed carrying of a concealed firearm. He was

    thereafter charged in the Thirteenth Judicial Circuit Court of Florida,

    Hillsborough County (case no. 20-CF-005200-A), and released after posting bond.

    As a condition of his release, the state court issued an order prohibiting the

    Defendant from possessing any firearms. Yet, despite that explicit order, and the

    obvious fact that he was otherwise on pretrial release for a felony charge, the

    Defendant continued with his plans to support ISIS and acquired a Glock pistol

    and silencer from CHS-1. Had the Defendant picked up a second state charge,

    instead of the current federal charge, it is likely that a state court judge would

    have imposed no bond on his original case. Not only that, the Defendant was

    recorded saying the following to CHS-1 about his state case on May 24, 2020:

           “I was thinking about not even going to court and saying, ‘Fuck that.’
           Just, I was thinking about, I was thinking about just hiding…I mean, of
           course, they’re going to issue a warrant…It’s mentioned in the
           paperwork.” 8




    8
     This quotation is taken from a transcript that the FBI has prepared of the recorded
    conversations that day between the Defendant and CHS-1.


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          If the Defendant was willing to flout court orders and skip bond on his

    pending state charges for a third degree felony, then he has even more reason to

    flee in this case. The United States estimates that the Defendant will face a

    guideline range sentence of 292-365 months’ imprisonment if he is convicted at

    trial. See U.S.S.G. §§ 2M5.3 and 3A1.4. Even if the Defendant faces only the

    single § 2339B count currently charged, and not additional counts whose

    sentences can be run consecutively, that means that he will guideline out to the

    statutory maximum of 20 years’ imprisonment. The Defendant, who has already

    professed his hatred for the United States and his desire to fight overseas, has a

    strong incentive to flee rather than face that sentence.

          The evidence against the Defendant is strong. That said, even if the Court

    were to accept the Defendant’s argument that the “weight of the evidence” factor

    points in his favor, every other factor under § 3142(g) does not. The charged

    offense is a “federal crime of terrorism” (§ 3142(g)(1)) and a dangerous crime, the

    Defendant already has been convicted of separate terrorism charges

    (§ 3142(g)(3)(A)) and was on release in state court pending trial when he

    committed this offense ((§ 3142(g)(3)(B)), and the Defendant poses an extreme

    danger to the community in this district (§ 3142(g)(4)), which he desires to

    terrorize. Those other factors do not simply wilt away when the parties offer

    differing legal theories about the evidence here; rather, they are brought into stark

    relief. Even the Defendant’s own proposal to live with his father and abide by

    restrictions fails to move the needle on release. The Defendant’s father is not a


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    suitable custodian or bond cosigner because he was imprisoned on terrorism

    charges alongside the Defendant in Saudi Arabia, and the Defendant has stated

    that he wants to kill him because he is not a true Muslim. Doc. 5 at 5, 58 (“You

    die, you win. I want to kill a kaffir [infidel]. I want to kill my dad.”). As for “a

    firearms restriction, a search condition, and limitations on his internet access,”

    the Defendant has already proven that a judge’s orders mean nothing to him in

    his quest to become a martyr for ISIS. Doc. 27 at 26.

          The statutory presumption of detention has not been rebutted, and the

    Defendant remains a serious risk of flight and a danger to the community.

                                     III.    Conclusion

          For all of the foregoing reasons, the Court should deny the Defendant’s

    motion and uphold his detention under 18 U.S.C. § 3145(b).


                                                       Respectfully submitted,

                                                       MARIA CHAPA LOPEZ
                                                       United States Attorney

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                            CERTIFICATE OF SERVICE

           I hereby certify that on June 18, 2020, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system which

    will send a notice of electronic filing to the following:

           Samuel Landes, Esq.


                                                   /s/ Patrick D. Scruggs
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